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AO 106 (Rev. 04/10) Applicatlon for a Search Wammt



                                     UNITED STATES DISTRICT COURT
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                                                                       for the                                       ~AY 062021            I
                                                                District ofKansas                            8c ~s ,
                                                                                                                ..
                                                                                                                    CICou,r               I
             In the Matter of the Search of
         (Briefly describe the property lo be searched
                                                                                                                           Deputy Clerk
                                                                                                                                          I
          or laentify the person by name and address)
         the residence and devices located at
    1770 S. Rock Road, Apt. 1109, Wichita, Kansas,
         as further described in Attachment A
                                           APPLICATION FOR A SEARCH WARRANT
                                                                                                                                          II
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identijy the person or describe the
property to be searched and give Its location):
                                                                                                                                          l
 the residence and devices localed at 1770 S. Rock Road, Apt. 1109, in Wichita, KS, as described In Attachment A
located mthe
                    -------
person or describe the property to be seized):
                                                  District of       Kansas
                                                                ----- - - - - - - , there is now concealed (identify the
                                                                                                                                          I
                                                                                                                                          l

 See Attachment B

          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more);
                                                                                                                                          Il
                                                                                                                                          !
               IEJevidence of a crime;
               l0'" contraband, fruits of crime, or other items illegally possessed;
                                                                                                                                          l
                                                                                                                                          !i

               g"property designed for use, intended for use, or used in committmg a crime;                                               I
               0 a pe!son to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:                                                                                        I
             Code Section
        18 U.S.C. 225212252A
                                                                         ·       Offense Description
                                                   Offenses relating to the Possession/Distribution of Child Pornography                  l
          The application is based on these facts:
        See Attached Affidavit of Probable Cause.

          r"!f   Continued on the attached sheet
          0 Delayed notice of
                 °"""                                                               tho'@~
                                  days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
                 18U.S.C. § 3103~ !he bWofwhkh issotforth on


                                                                                            Applicant's signarure

                                                                                        Andrew Campbell, SA, FBI
                                                                                            Printed name and title
                                  ~~t'ho\\: c.a~l'-\
Sworn to before me and signed in my fl"'8Bettse.

Date:    S - \9 -~ l
City and state: _Wi_1c_hi_ta_,_,_K_S_ _ _ _ _ _ __                          The Honorable Kenneth G. Gale, US Magistrate Judge
                                                                                            Printed name and title
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                UNITED STATES DISTRICT COURT'~-.-{, .~ll
                                            ~ Deputy Ct.
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                           . ·     fK    D 1stnct o    erk
                                                      ansas
. IN THE MATTER OF THE SEARCH OF:
  THE RESIDENCE AND DEVICES AT
  1770 S. ROCK ROAD, APT. 1109
  WICHITA, KS 67207
                                                      Case No.   o\ \- m- (.p{J ~s- 0                     l-      KC'xG-
  as further described in Attachment A




                            AFFIDAVIT IN SUPPORT OF AN
                        APPLICATION FOR A SEARCH WARRANT

       I, Andrew P. Campbell, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

        1.      I make this affidavit in support of an application for a warrant to search the

premises and devices located at 1770 S. ROCK ROAD, APT. 1109, WICIDTA, KS, 67207,

hereinafter "RESIDENCE," further described in Attachment A, for the things described in

Attachment B.

       2.       I am a Special Agent with the Federal Bureau of Investigation, and have been

since January 2016. As a Special Agent of the FBI, I am authorized to investigate violations of

laws of the United States, and I am a law enforcement officer with authority to execute arrest and

search warrants under the authority of the United States, including violations of Title 18, United

States Code § § 2252 and 2252A. I have participated in a wide variety of criminal investigations,

to include violent crime, crimes against children, major theft, and other federal crimes. I have

participated in the preparation and execution of search warrants, including, but not limited to,
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those involving the sexual exploitation of minors and certain activities relating to material

constituting or containing child pornography.

       3.      This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

                                      PROBABLE CAUSE

       4.      This investigation arises from an undercover operation involving the distribution

and exchange of child pornography over Kik messenger. Kik is a free mobile application that

can be downloaded on Android or iOS devices, as well as accessed via a desktop computer, that

permits users to communicate anonymously with fellow Kik users. This application allows users

to create groups where like-minded individuals can chat/text other users and post videos/images.

Kik creates a unique name for each individual. Each user has the ability to create a screen name

which can be changed at any time.

       5.      From 11/06/2020 to 12/09/2020, Online Covert Employee ("OCE") Dustin Grant,

who is a member of the FBI Child Exploitation Human Trafficking Task Force in Salt Lake City,

Utah, was connected to the Internet in an online undercover capacity in Salt Lake City, Utah. As

part of an undercover investigation into online groups engaged in the trading of child

pornography, OCE Grant posted online bulletin messages on Chatzy. Chatzy is a free application

providing private chat rooms, which, based on OCE Grant's experience and information gathered

from other sources, are frequented by individuals who have a sexual interest in children and

incest. OCE Grant posted bulletin messages offering to trade child pornography images,




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intending to attract individuals with a sexual interest in children. OCE Grant would respond to

certain messages and provide his OCE Kik screen name, then utilize the instant messaging

application Kik to communicate with subjects. On Kik, OCE Grant had created a persona of a

father of a nine year old daughter. OCE Grant would then record the online activity, chats, and

images identified within Kik.

       6.      On 11/06/2020, an individual with the Kik profile identifier "handsome8765",

using the screen name "logy box" contacted OCE Grant via Kik and communicated his sexual

interests in children. Communications between this subject and OCE Grant occurred primarily

on 11/06/2020 and 11/07/2020, with subsequent attempts at contact by the subject continuing

until 12/09/2020, as reflected in the chat history below. This user also sent via Kik multiple

videos/images of nude prepubescent age children being sexually abused by adults and posing in

sexually explicit positions, as reflected in the chat history below, which started on 11/6/2020 at

3:45pmMST:


       OCE: Hey wat r u into?

       HANDSOME8765: Family taboo and incest and uou, You, Young

       OCE: Same. I'm looking for other parents who are active into young incest, no limits

       HANDSOME8765: Hot

       OCE: I like 0-12

       HANDSOME8765: Nice, Can I see a pie

       OCE: Ru a parent?



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HANDSOME8765: I say 1 to 14, I wi'sh i was a parent

OCE: U American?

HANDSOME8765: Hope ok, Yea, USA

OCE: U active with anyone young?

HANDSOME8765: I wish I was what about you

OCE: I have a 9 yo daughter I'm active with

HANDSOME8765: Dang may i see a pie, if ok

OCE: Looking for parents or OC

HANDSOME8765: OC means

OCE: Original Content

HANDSOME8765: Cool

OCE: Wats the yungest vids u have

HANDSOME8765: I don't have any at the moment ended up having to get rid of them
when i updated my phone

OCE: Too bad

HANDSOME8765: I love to see one at least if ok

OCE: Need to trust people first, too risky

HANDSOME8765: I can understand that

OCE: Too many fakes

HANDSOME8765: Thats true, your not a cop are you or someone pretending cause I'm
not


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OCE:No

HANDSOME8765: Sweet

OCE:Y

HANDSOME8765: Im not any of them i try to stay away from them

OCE: So u don't even have a sample

HANDSOME8765: I can try and find one buy might be hard

OCE: Have to be safe

HANDSOME8765: Yea i know what you mean

HANDSOME8765: [Image sent on November 6, 2020 at 3:53 p.m. using Mobile LTE, of
a nude female, age difficult, and male engaged in a sex act]

HANDSOME8765: Found something close. I think. You ok. Can I see yours then

OCE: Looks like adult porn. I'm looking for Original Content or stuff I've never seen

HANDSOME8765: I mean they are a little over what you like, but not by much

OCE: I can't even tell

HANDSOME8765: [Video sent on November 6, 2020 at 4:10 p.m. using WIFI IP
172.58.68.112, of a nude female, age difficult, and male engaged in a sex act]

HANDSOME8765: At least that what it said. So may i see one then if ok. You ok. You
haven't responded. I did find a picture of one young. I have send you a few things
already.

OCE: You send adult porn. I'm not looking for adult porn

HANDSOME8765: [Image sent on November 6, 2020 at 4:21 p.m. using WIFI IP
172.58.68.112, of a young prepubescent age girl exposing her nipple.]




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HANDSOME8765: That was the one pie i could find. Sorry for sending adult porn to you
it didn't say that

OCE: Shit dude, u sendin stuff like that and want pies of my dau

HANDSOME8765: Sorry I don't really have anything. I can leave if you want. I can
leave right now and wish you th best of luck getting a hold of someone that does have
what you are looking for

OCE:?

HANDSOME8765: Im sorry I don't have anything good for you

OCE:Ok

HANDSOME8765: I did try, is the effort enough

OCE: Lol, not bow this works

HANDSOME8765: I understand, but you at least see you can trust me right, if not i
understand

OCE: Anyone can send adult porn

HANDSOME8765: True but what about the last pie i sent

OCE: I don't get anything out of this

HANDSOME8765: You didn't like the last pie u sent I

OCE: Seen it before

HANDSOME8765: Oh My bad that's all i could find, I don't know where else to look

OCE: It's ok later

HANDSOME8765: You have any ideas where i can look

HANDSOME8765: We could always say i owe you big time if i got to see




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HANDSOME8765: Sorry for asking im sure you have seen alot

HANDSOME8765: But i understand only pie for pie

HANDSOME8765: If i get something you be first to know

OCE:Ok

HANDSOME8765: Ok as in owe you one or ok as in you be first to know when i get
some

OCE: Get some

HANDSOME8765: Understood

OCE:k

HANDSOME8765: Ki got some, so we can trade (sent on November 7, 2020 at 3:51
p.m. using Mobile L TE)

OCE: Depends wat u have

HANDSOME8765: [Image sent on November 7, 2020 at 4:00 p.m. using Mobile LTE
depicting a nude prepubescent age girl and boy being forced to perform oral sex on each
other by a nude adult female]

HANDSOME8765: Will that do

HANDSOME8765: Everything ok

HANDSOME8765: Hope its a yes

HANDSOME8765: If not then I give up

HANDSOME8765: Taking awhile to respond hope you are ok

OCE: That's ok, not the best

HANDSOME8765: May I see then if ok




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OCE: Idk dude. Im really not getting anything out of this. I'm looking for OC or other
parents

HANDSOME87 65: If you show me one i can send more i figure we trade back to back,
trust is key right

OCE: Nah not looking for trades. I have stuff. Dou have anything yunger or is that it

HANDSOME8765: I have younger

OCE: How yung?

HANDSOME8765: Young

OCE: How young??

HANDSOME8765: I think maybe 5 and older

OCE: U ever had sex with a kid

HANDSOME8765: No i haven't, I thought I told you that before

OCE: I delete everything

HANDSOME8765: Fair, I understand that, I do the same

OCE: Asl? I'm in Utah

HANDSOME8765: Ks, Wish I was in Utah with you

OCE: Me too. Hard to find local pervs

HANDSOME8765: True

OCE: How old r u?

HANDSOME8765: 29 you, How old are you

OCE: 35




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HANDSOME8765: Cool

OCE: U have access to kids

HANDSOME8765: No i don't, You do right

OCE:Mydau

HANDSOME8765: Nice

OCE: She's with me now

HANDSOME8765: Hot Love to see

OCE: We will c

HANDSOME8765: Ok Hope i can soon

OCE: If u have stuff I've never seen

HANDSOME8765: [Image sent on November 7, 2020 at 9:06 p.m. using WIFI IP
68.102.169.88, depicting a nude toddler age girl being orally penetrated by an adult
male]

OCE: Do u have the video?

HANDSOME8765: Yea but its encrypted i can't download it properly

OCE: ?W dym Where did u find it

HANDSOME8765: I got it from someone on Chatzy but its encrypted

OCE: Weird

HANDSOME8765:Iknow

OCE: Where do u usually find your stuff and store it

HANDSOME8765: Well i got it from a person on Chatzy, I keep it secure




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OCE: I keep my stuff in Mega

HANDSOME8765: True, theres also dropbox

OCE: Hold on brb [This response is sent on November 7, 2020 at 9:12pm. Subsequent
communications below continue intermittently until December 9, 2020.]

HANDSOME8765: Ok what you doing

HANDSOME8765: Hope it wasn't serious

HANDSOME8765: So what happened

HANDSOME8765: If ok to ask

HANDSOME8765: You did tell me you brb

HANDSOME8765: Guessing you are busy

HANDSOME8765: Hope you are ok

HANDSOME8765: What up

OCE: Sry been busy

HANDSOME8765: It's all good, so may i see some then

HANDSOME87 65: If ok, I can understand the part about busy since close to holidays

HANDSOME8765: You on

HANDSOME8765: Haven't gotten anything from you yet

HANDSOME8765: You ok

HANDSOME8765: Love to see

HANDSOME8765: Some pies and vids




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       7.      These communications reflect initial direct communications with OCE grant over

a roughly 24 hour period, wherein the Kik user "Handsome8765" indicated familiarity with

Chatzy, indicated he had previously received child pornography from other users, had previously

stored child pornography on another phone and now "keep[s] it secure," sought depictions of the

purported minor daughter of OCE Grant's profile, and provided images of child pornography to

OCE Grant as part of a "pie for pie" exchange. However, the Kik user "Handsome8765"

continued to message OCE Grant's profile requesting child pornography as late as 12/09/2020.

                       Identification ofKik user "HANDSOME8765"

       8.      The FBI sent a subpoena to Kik requesting subscriber data for this account. The

Kik subscriber data revealed the following:

       FIRST NAME: logy
       LAST NAME: box
       USERNAME: Handsome8765
       EMAIL: logybox234@yahoo.com
       REGISTRATION DEVICE: Samsung smartphone (Android)
       REGISTRATION DATE: 8/12/2014

       9.      Kik also provided login information, showing IP addresses used to log in to the

account. As noted in the chat history above, some instances of the distribution of images

occurred over a mobile network versus a residential IP address. However, the IP address

associated with the distribution of child pornography (notated in the chat above) included

68.102.169.88 on 11/7/2020 at 9:06pm.




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        10.    The IP address 68.102.169.88 was operated by Cox Communications. A subpoena
                        .                                                                            .
to Cox Communications for the subscriber assigned that address at the time of the distribution of

child pornography revealed the following subscriber information:

       Robert Ybarra
       1770 S. Rock Rd, Apt 1109 [THIS IS THE TARGET RESIDENCE]
       Wichita, KS 67207-5179
       316-351-7379
       316-393-9749

        11.    Database searches for people connected to the address revealed Robert Lee

Ybarra (born in 1990) lives at the residence with Christopher James Boales (born in 1995).

Searches of publicly available information revealed multiple Facebook photos depicting Ybarra

and Boales together with apparent family members.

        12.    On 3/4/2021, a physical surveillance of the RESIDENCE identified a gray 2009

Ford Fusion displaying Kansas license plate 667EDW, registered to Ybarra. Parked next to the

Fusion was a white 2009 Chevrolet Cobalt sedan displaying Kansas license plate 854FVH,

registered to Boales.

        13.    On 4/19/2021, physical surveillance of the RESIDENCE showed both Ybarra and

Boales using Apartment l 109's exterior entrance.

              CHILD PORNOGRAPHY COLLECTOR CHARACTERISTICS

        14.    I know from speaking with more experienced investigators that individuals who

are interested in the sexual exploitation of children will frequently use child pornography to

satiate their prurient sexual desires. I know that these individuals will frequently use or access




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their child pornography in private, either in their own home or within secure areas of a home,

including workshops, garages. While evidence of child pornography activities is often found on

devices within the residential area of such individual's home, it would not be uncommon to find

evidence of those same activities within the individual's car or garage/workshop. 1

         15.      From speaking with more experienced investigators, I also know that individuals

who are interested in the sexual exploitation of children will often seek out other likeminded

individuals, for the purposes of normalizing their interest, discussing historical or planned child

sexual abuse, and/or advertising the trade of child pornography. The communications captured

in this investigation demonstrate this characteristic.

         16.      From speaking with more experienced investigators, I know that individuals who

are interested in the sexual exploitation of children will frequently utilize digital devices to

access the internet to seek, obtain, and traffic in child pornography, and that the device(s) used

by such individuals will retain evidence and artifacts of such activity. I also know that

individuals who are interested in the sexual exploitation of children will protect and retain child

pornography for long periods oftime. 2 Typically, the individual will keep the device(s) close-by,



1
 See, e.g., United States v. ivfarshall Seitter, District of Kansas (Wichita) case 6: 17-CR-10041-JTM (where child
pornography was found on a harddrive in defendant's car and device from his workspace); United States v. Michael
Paul Murphy, District of Kansas (Wichita) case 6:19-CR-10041-JWB (where child pornography was found in
defendant's truck).

2
 See United States v. Shields, 458 F.3d 269, 279 (3d Cir. 2006) (noting nine month delay in applying for search
warrant would not have supported staleness challenge due to context of child pornography offender behavior along
with evidence of continuing offenses); United States v. Schesso, 730 F.3d 1040 (9th Cir. 2013) (finding delay of20
months did not render probable cause stale in context of investigation); see also United States v. Allen, 625 F .3d



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in part for immediate access for sexual gratification and to maintain secure control over the

contraband material. In this case, despite the SUBJECT claiming he deletes the child

pornography, that deletion appears to have been because of changing phones. The chats indicate

the SUBJECT has familiarity with child pornography, venues for obtaining or storing child

pornography, and is able to seek and obtain child pornography reasonably quickly. Moreover, the

chats indicate the SUBJECT also has familiarity with secure storage. Evidence of such

familiarity and access is likely to be found on the device(s) located at the RESIDENCE.

         17.      From my training and experience, I know that individuals who engage in

communications with other individuals relating to the sexual exploitation of children will

frequently retain information about these contacts, which can be used later to obtain access to

other groups or forums relating to child pornography, or for exchanging additional child

pornography. This characteristic is demonstrated in the chat, presented above.

         18.     Further, I believe that the user evinces the qualities associated with child

pornographers, outlined above. In this instance, to post the child pornography observed by Law

Enforcement over the Kik Application, the user had to first seek out the child pornography and

exert control over it. I expect the device(s) used by operator of the accounts described above



830, 842-43 (5th Cir.2010) (holding that an 18-month delay between when defendant sent child pornography images
through a peer-to-peer networking site and issuance of a search warrant did not render the information stale); United
States v. 1vlorales-Aldahondo, 524 F.3d 115, 117-19 (1 st Cir.2008) ( concluding that the passage of over three years
since the acquisition of information that defendant's brother, who shared defendant's residence, had purchased access
to various child pornography websites, did not render that information stale).




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have previously (and will probably still contain, as discussed below) additional child

pornography, links to child pornography websites, or artifacts showing access to child

pornography. I further expect the device(s) used by or in the possession of the user will probably

contain evidence of communications, or attempts to communicate, with other individuals

interested in the sexual exploitation of children, i.e., child pornographers.

         COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

        19.      As described above and in Attachment B, this application seeks permission to

search for records that might be found on the RESIDENCE, as described in Attachment A, in

whatever form they are found. One form in which the records might be found is data stored on a

computer's hard drive or other storage media. Thus, the warrant applied for would authorize the

seizure of electronic storage media or, potentially, the copying of electronically stored

information, all under Rule 4l(e)(2)(B).

       20.       Probable cause. I submit that if a computer or storage medium is found on the

RESIDENCE, there is probable cause to believe those records will be stored on that computer or

storage medium, for at least the following reasons:

              a. Based on my knowledge, training, and experience, I know that computer files or
                 remnants of such files can be recovered months or even years after they have been
                 downloaded onto a storage medium, deleted, or viewed via the Internet.
                 Electronic files downloaded to a storage medium can be stored for years at little
                 or no cost. Even when files have been deleted, they can be recovered months or
                 years later using forensic tools. This is so because when a person "deletes" a file
                 on a computer, the data contained ~n the file does not actually disappear; rather,
                 that data remains on the storage medium until it is overwritten by new data.




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             b. Therefore, deleted files, or remnants of deleted files, may reside in free space or
                slack space-that is, in space on the storage medium that is not currently being
                used by an active file-for long periods of time before they are overwritten. In
                addition, a computer's operating system may also keep a record of deleted data in
                a "swap" or "recovery" file.

             c. Wholly apart from user-generated files, computer storage media-in particular,
                computers' internal hard drives---contain electronic evidence of how a computer
                has been used, what it has been used for, and who has used it. To give a few
                examples, this forensic evidence can take the form of operating system
                configurations, artifacts from operating system or application operation, file
                system data structures, and virtual memory "swap" or paging files. Computer
                users typically do not erase or delete this evidence, because special software is
                typically required for that task. However, it is technically possible to delete this
                information.

             d. Similarly, files that have been viewed via the Internet are sometimes
                automatically downloaded into a temporary Internet directory or "cache."

       21.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how

computers were used, the purpose of their use, who used them, and when. There is probable

cause to believe that this forensic electronic evidence will be on any storage medium in the

RESIDENCE because:

             a. Data on the storage medium can provide evidence of a file that was once on the
                storage medium but has since been deleted or edited, or of a deleted portion of a
                file (such as a paragraph that has been deleted from a word processing file).
                Virtual memory paging systems can leave traces of information on the storage
                medium that show what tasks and processes were recently active. Web browsers,
                e-mail programs, and chat programs store configuration information on the
                storage medium that can reveal information such as online nicknames and
                passwords. Operating systems can record additional information, such as the
                attachment of peripherals, the attachment of USB flash storage devices or other



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     external storage media, and the times the computer was in use. Computer file
     systems can record information about the dates files were created and the
     sequence in which they were created, although this information can later be
     falsified.

  b. As explained herein, information stored within a computer and other electronic
     storage media may provide crucial evidence of the "who, what, why, when,
     where, and how" of the criminal conduct under investigation, thus enabling the
     United States to establish and prove each element or alternatively, to exclude the
     innocent from further suspicion. Information stored within a computer or storage
     media (e.g., registry information, communications, images and movies,
     transactional information, records of session times and durations, internet history,
     and anti-virus, spyware, and malware detection programs) can indicate who has
     used or controlled the computer or storage media. This "user attribution"
     evidence is analogous to the search for "indicia of occupancy" while executing a
     search warrant at a residence. The existence or absence of anti-virus, spyware,
     and malware detection programs may indicate whether the computer was
     remotely accessed, thus inculpating or exculpating the computer owner. Further,
     computer and storage media activity can indicate how and when the computer or
     storage media was accessed or used. For example, as described herein, computers
     typically contain information that log: computer user account session times and
     durations, computer activity associated with user accounts, electronic storage
     media that connected with the computer, and the IP addresses through which the
     computer accessed networks and the internet. Such information allows
     investigators to understand the chronological context of computer or electronic
     storage media access, use, and events relating to the crime under investigation.
     Additionally, some information stored within a computer or electronic storage
     media may provide crucial evidence relating to the physical location of other
     evidence and the suspect. For example, images stored on a computer may both
     show a particular location and have geolocation information incorporated into its
     file data. Such file data typically also contains information indicating when the
     file or image was created. The existence of such image files, along with external
     device connection logs, may also indicate the presence of additional electronic
     storage media (e.g., a digital camera or cellular phone with an incorporated
     camera). The geographic and timeline information described herein may either
     inculpate or exculpate the computer user. Last, information stored within a
     computer may provide relevant insight into the computer user's state of mind as it
     relates to the offense under investigation. For example, information within the
     computer may indicate the owner's motive and intent to commit a crime (e.g.,
     internet searches indicating criminal planning), or consciousness of guilt (e.g.,



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                running a "wiping" program to destroy evidence on the computer or password
                protecting/encrypting such evidence in an effort to conceal it from law
                enforcement).

             c. A person with appropriate familiarity with how a computer works can, after
                examining this forensic evidence in its proper context, draw conclusions about
                how computers were used, the purpose of their use, who used them, and when.

             d. The process of identifying the exact files, blocks, registry entries, logs, or other
                forms of forensic evidence on a storage medium that are necessary to draw an
                accurate conclusion is a dynamic process. While it is possible to specify in
                advance the records to be sought, computer evidence is not always data that can
                be merely reviewed by a review team and passed along to investigators. Whether
                data stored on a computer is evidence may depend on other information stored on
                the computer and the application of knowledge about how a computer behaves.
                Therefore, contextual information necessary to understand other evidence also
                falls within the scope of the warrant.

             e. Further, in finding evidence of how a computer was used, the purpose of its use,
                who used it, and when, sometimes it is necessary to establish that a particular
                thing is not present on a storage medium. For example, the presence or absence
                of counter-forensic programs or anti-virus programs (and associated data) may be
                relevant to establishing the user's intent.

       22.      Necessity of seizing or copying entire computers or storage media. In most cases,

a thorough search of a RESIDENCE for information that might be stored on storage media often

requires the seizure of the physical storage media and later off-site review consistent with the

warrant. In lieu ofremoving storage media from the RESIDENCE, it is sometimes possible to

make an image copy of storage media. Generally speaking, imaging is the taking of a complete

electronic picture of the computer's data, including all hidden sectors and deleted files. Either

seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded




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on the storage media, and to prevent the loss of the data either from accidental or intentional

destruction. This is true because of the following:

             a. The time required for an examination. As noted above, not all evidence takes the
                form of documents and files that can be easily viewed on site. Analyzing
                evidence of how a computer has been used, what it has been used for, and who
                has used it requires considerable time, and taking that much time on RESIDENCE
                could be unreasonable. As explained above, because the warrant calls for forensic
                electronic evidence, it is exceedingly likely that it will be necessary to thoroughly
                examine storage media to obtain evidence. Storage media can store a large
                volume of information. Reviewing that information for things described in the
                warrant can take weeks or months, depending on the volume of data stored, and
                would be impractical and invasive to attempt on-site.

             b. Technical requirements. Computers can be configured in several different ways,
                featuring a variety of different operating systems, application software, and
                configurations. Therefore, searching them sometimes requires tools or knowledge
                that might not be present on the search site. The vast array of computer hardware
                and software available makes it difficult to know before a search what tools or
                knowledge will be required to analyze the system and its data on the
                RESIDENCE. However, taking the storage media off-site and reviewing it in a
                controlled environment will allow its examination with the proper tools and
                knowledge.

             c. Variety of forms of electronic media. Records sought under this warrant could be
                stored in a variety of storage media formats that may require off-site reviewing
                with specialized forensic tools.

       23.      Nature of examination. Based on the foregoing, and consistent with Rule

4l(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the

warrant, and would authorize a later review of the media or information consistent with the-

warrant. The later review may require techniques, including but not limited to computer-assisted




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scans of the entire medium, that might expose many parts of a hard drive to human inspection in

order to detennine whether it is evidence described by the warrarit.

       24.      Because two people share the RESIDENCE as a residence, it is possible that the

RESIDENCE will contain storage media that are predominantly used, and perhaps owned, by

persons who are not suspected of a crime. If it is nonetheless determined that that it is possible

that the things described in this warrant could be found on any of those comp\.lters or storage

media, the warrant applied for would permit the seizure and review of those items as well.

                                         CONCLUSION

       25.     I submit that this affidavit supports probable cause to believe that the

RESIDENCE located at 1770 S. Rock Road, Apt. 1109, Wichita, KS and described in

Attachment A does contain evidence of violations of 18 U.S.C. § 2252 and 2252A and therefore

respectfully request that this Court issue a search warrant for the search of the premises and

devices located at 1770 S. Rock Road, Apt. 1109, Wichita, KS, being more specifically

described in Attachment A which incorporated by reference as if fully set fo1th herein,

authorizing the seizure and search of the items described in Attachment B herein.

                                                      Respectfully submitted,


                                                          ~
                                                      Andrew P. Campbell
                                                      Special Agent
                                                      Federal Bureau of Investigation

       Subscribed and sworn to before me on     "--'('r\ ~             ls;      , 2021.
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UNITE STATES MAGISTRATE JUDGE




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                                     ATTACHMENT A

                                    Property to be searched

       The residence and devices located 1770 S. Rock Road, Apt. 1109, Wichita, KS, 67037,

further described as follows:

Apartment 1109 is located in Building 11 within the Brookwood Apartment Complex, at 1770 S.
Rock Road. Building 11 is identified by a number on the side of the building (depicted below on
right). The apartments are identified by number on the door to each apartment, and each
apartment has a separate exterior door. Apartment 1109 is identified by number on the door
showing 9. The apartment is located on the first floor, and is accessible from an exterior
vestibule shared with apartment 1110.
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                                        ATTACHMENT B

                                        Property to be seized

        1.      Any and all child pornography (as defined in 18 U.S.C. § 2256(8)), visual

depictions of minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), in

any format or medium, including computer files, prints, negatives, drawings, and paintings.

        2.      Any and all child erotica, in any format or medium, including documents,

writings, and images or videos of children that do not qualify as child pornography but evince a

sexual interest in children.

        3.      Any and all computer devices (including desktops, laptops, tablets, smartphones,

as well as the hardware, peripherals, software, computer related documentation, passwords and

data security devices, and storage devices), including the software or programs or applications

contained therein, that may be or are used to:

             a. distribute, receive, possess or access child pornography or visual depictions of

                minors engaged in sexually explicit conduct;

             b. seek, obtain, store, or record information pertaining to the sexual exploitation of

                children or otherwise relate to an interest in child pornography, visual depictions

                of minors engaged in sexually explicit conduct, child erotica, or the sexual

                exploitation of children;

             c. communicate with any other person regarding child pornography, visual

                depictions of minors engaged in sexually explicit conduct, child erotica, or the

                sexual exploitation of children; and


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            d. any and all data or information on the device which may relate to subparagraphs

               3a, 3b, and 3c, including data or information that may reveal indicia of ownership,

               access, or use.

       4.      Any and all notes, documents, records, correspondence, in any format and

medium (including, but not limited to, envelopes, letters, papers, diaries, manifestos, manuals,

email messages, chat logs and electronic messages, and handwritten notes) pertaining to child

pornography, visual depictions of minors engaged in sexually explicit conduct, child erotica, or

the sexual exploitation of children, and to include any and all data or records that may reveal

indicia of creation, use, or ownership of the notes, documents, records, or correspondence.

       5.      Any and all cameras, film, videotapes or other photographic equipment, which

may be used to contain, create or duplicate child pornography, visual depictions of minors

engaged in sexually explicit conduct, or child erotica.

       6.      Any and all documents, records, or correspondence, in any format or medium

(including, but not limited to; envelopes, letters, papers, email messages, chat logs and electronic

messages, and other digital data files), pertaining to occupancy or ownership of the RESIDENCE

described above, including, but not limited to, rental or lease agreements, mortgage documents,

rental or lease payments, utility and telephone bills, mail envelopes, or addressed

correspondence.

       7.      Any and all records, documents, invoices and materials, in any format or medium

(including, but not limited to, envelopes, letters, papers, email messages, chat logs and electronic

messages, and other digital data files) that concern any accounts with an Internet Service

Provider.
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       8.      Any and all records, documents, invoices and materials, in any format-or medium

(including, but not limited to, envelopes, letters, papers, email messages, chat logs and electronic

messages, and other digital data files) that concern online storage or other remote computer

storage, including, but not limited to, software used to access such online storage or remote

computer storage, user logs or archived data that show connection to such online storage or

remote computer storage, and user logins and passwords for such online storage or remote

computer storage.

       9.      Any and all records, documents, invoices and materials, in any format or medium

(including, but not limited to, envelopes, letters, papers, email messages, chat logs and electronic

messages, and other digital data files) that concern encryption, deletion, or destruction of

evidence.

       10.     Any and all visual depictions of minors that may assist in the identification of

minors depicted in images of child erotica or child pornography.




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